                         UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF KANSAS AT KANSAS CITY

In re:                                               )
                                                     )
CAH ACQUISITION COMPANY #5, LLC,                     )              Case Number 19-10359
d/b/a HILLSBORO COMMUNITY HOSPITAL,                  )              Chapter 11
                                                     )
                       Debtor.                       )



MOTION FOR AUTHORITY TO OBTAIN POST-PETITION FINANCING PURSUANT
             TO 11 U.S.C. § 364 AND FOR RELATED RELIEF

         COMES NOW Brent King, not individually, but solely in his capacity as the Chapter 11

Trustee in the above-captioned bankruptcy case (the "Trustee"), and hereby requests that the

Court enter an order authorizing the Trustee to obtain post-petition financing from Bank of Hays

(the "Bank") pursuant to 11 U.S.C. § 364 and to grant additional relief related thereto (the

"Motion"). In support of the Motion, the Trustee states and alleges as follows:

                                     Procedural Background

         1. On March 13, 2019 (the "Commencement Date"), Cohesive Healthcare Management

+ Consulting, LLC ("Cohesive"), in its capacity as court-appointed receiver, filed a voluntary

petition for CAH Acquisition Company #5, LLC (the "Debtor") under chapter 11 of Title 11 of

the United States Code (the "Bankruptcy Code") in the United States Bankruptcy Court for the

District of Kansas (the "Bankruptcy Court").

         2. On March 26, 2019, the Bankruptcy Court appointed the Trustee as the Chapter 11

trustee for the Debtor pursuant to § 1104(a) of the Bankruptcy Code.

         3. An Official Committee of Unsecured Creditors has not been appointed in this case as

of the date hereof.

         4. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).



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       5. This Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

       6. Venue is proper in this Bankruptcy Court pursuant to 28 U.S.C. § 1408.

                                            Introduction

       7. Prior to the Commencement Date, the Debtor owned and operated the Hillsboro

Community Hospital, a critical access hospital located in Hillsboro, Kansas (the "Hospital").

       8. The Hospital provides high-quality medical care to the community of Hillsboro,

Kansas. The Hospital is 15-bed hospital providing high-quality care distinguished by patient

satisfaction and results. The Hospital offers a broad range of services, including but not limited

to the following: emergency, surgery, radiology, laboratory, inpatient care, rehabilitation and

swing bed. The Hospital also offers EEGs and EKGs, treadmill, nerve conduction and sleep

apnea studies. It also includes a specialty clinic to the medical needs of its patients.

       9. On January 18, 2019, the District Court of Marion County, Kansas appointed

Cohesive as the receiver for the Debtor, due in large part to the mismanagement of the Hospital

by the then-current management company – Empower H.M.S., LLC ("Empower").                       This

mismanagement led to critical breakdowns affecting the Hospital's performance and its treatment

of patients and employees, including but not limited to inadequate supplies, loss of staff due to

nonpayment, loss of health insurance for employees, failure of Empower to pay federal and state

withholding taxes on behalf of the employees, and cancellation of workers' compensation

insurance. The details of Empower's negligent (and potentially criminal) activities are set forth

more fully in the Amended Emergency Consent Motion of Bank of Hays for Appointment of a

Trustee Under 11 U.S.C. § 1104 (ECF Doc. 14).

       10. From January 18, 2019 through the Commencement Date, the Bank made advances

to Cohesive as receiver in the amount of $1,054,112.39 (the "Receivership Advances") to fund




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the expenses necessary to keep the Hospital operating for the benefit of all creditors, the

Hospital's employees, its patients and the community of Hillsboro, Kansas. Had the Bank not

made the Receivership Advances, Cohesive would have had no choice but to close the Hospital.

       11. From and after his appointment by this Bankruptcy Court, the Trustee has worked

diligently with Cohesive to determine the expenses the Trustee needs to pay in order to keep the

Hospital operating while the Trustee markets the Hospital to prospective buyers.

       12. On May 8, 2019, the Trustee filed a Motion to Approve Agreed Order Regarding

Use of Cash Collateral and Adequate Protection (ECF Doc. __) (the "Cash Collateral Motion").

Attached as Exhibit A to the Cash Collateral Motion is a 13-week budget setting forth the

necessary funds needed by the Trustee to fund operating shortfalls for the Hospital (the

"Budget").

                                       Relief Requested

       13. Pursuant to and subject to the terms and limitations set forth in the Stipulation and

Agreed Order attached hereto as Exhibit A and hereby incorporated by reference as though set

fully herein (the "Stipulation and Agreed Order"), the Trustee requests that the Court authorize

the Trustee to obtain senior secured, superpriority post-petition financing consisting of the

Trustee Facility from the Bank.

       14. Pending entry of a final order granting the relief request herein (the "Final Order"),

the Trustee requests that the Court authorize the Trustee, on an interim basis, to enter into the

Stipulation and Agreed Order.

                   Known Secured Claims as of the Commencement Date

       15. The Public Building Commission of Hillsboro, Kansas (the "PBC") owns fee title to

the land upon which the Hillsboro Hospital was built, and leases that land, as well as an




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adjoining parking lot, to the City of Hillsboro, Kansas (the "City"). The City subleases the land

to the Debtor under the terms of a sublease agreement between the City and the Debtor. The

lease payments from the Debtor to the City, and then from the City to the PBC, are used to pay-

off bond financing the PBC undertook in 2015 as part of the project to build the Hillsboro

Hospital. Security Bank of Kansas City ("Security Bank") is the bond trustee for the bonds

described herein. Any interest of Security Bank, the PBC or the City in the Collateral is junior

and inferior to the Bank's properly perfected mortgage lien on the real estate and its properly

perfected security interest in the personal property of the Debtor.

       16. The Kansas Department of Revenue may claim a lien on some or all of the Debtor's

assets pursuant to tax warrants 2017-ST-87, 2018-ST-4 and 2018-ST-72 (the "Tax Warrants").

Any interest of the Kansas Department of Revenue in the Collateral by virtue of the Tax

Warrants is junior and inferior to the Bank's properly perfected lien on and security interest in

the Collateral.

       17. As of the Commencement Date, on information and belief, the Trustee is aware of

the following potential secured claims other than the claims of the Bank, Security Bank, the

PBC, the City, and the Kansas Department of Revenue, all as set forth above.

       18. App Group International, LLC ("AGI") may claim a security interest in some or all

of the Debtor's personal property assets. On information and belief, AGI failed to file a UCC-1

financing statement in the Debtor's state of incorporation; consequently, any security interest

AGI may have held was unperfected as of the Commencement Date. Thus, any security interest

of AIG is junior and inferior to the Bank's properly perfected security interest and any security

interest of AIG is almost certainly avoidable under § 544 of the Bankruptcy Code.

       19. U.S. Bancorp Equipment Finance, Inc. may claim a perfected security interest in




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some of the Debtor's equipment.

       20. First Financial Corporate Leasing, LLC may claim a perfected security interest in

some of the Debtor's equipment.

       21. Health Acquisition Company, LLC, as successor in interest to HMC/CAH Note

Acquisition, LLC ("HAC") and as and as assignor of an alleged security interest granted by the

Debtor to Gemino Healthcare Finance, LLC (“Gemino”), may claim a security interest in some

or all of the Debtor's personal property assets. On information and belief, HAC's predecessor

terminated its UCC-1 financing statement on February 4, 2016, in the Debtor's state of

incorporation and Gemino never filed a UCC-1 financing statement in Debtor’s state of

incorporation. Consequently, any security interest HAC may have held or claim was unperfected

as of the Commencement Date. Any security interest of HAC is junior and inferior to the Bank's

properly perfected security interest and any security interest of HAC is almost certainly

avoidable under § 544 of the Bankruptcy Code.

       22. GEL Funding, LLC (“GEL”) may claim a perfected security interest in Debtor’s

assets by virtue of a UCC-1 financing statement filed on March 1, 2019. Any security interest of

GEL is junior and inferior to the Bank's properly perfected security interest. Moreover, because

the financing statement was filed within 90 days of the Commencement Date and after the

appointment of Cohesive as receiver for the Debtor, the security interest is avoidable either under

§ 547(b) of the Bankruptcy Code as a preference or under § 544 of the Bankruptcy Code as

unauthorized.

                                    Proposed Loan Facility

       23. The terms and conditions of proposed loan from the Bank to the Trustee are set forth

more fully in the Stipulation and Agreed Order (the "Proposed Loan Facility"). The material




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terms of the Proposed Loan Facility are as follows:

                      The Proposed Loan Facility Should Be Authorized

       24. Approval of the Proposed Loan Facility will provide the Trustee with additional

operating cash such that the Trustee will be able to prevent:          (a) irreparable harm to the

Hospital's business; (b) depletion of the Hospital's going concern value; and (c) jeopardizing the

Trustee's ability to sell the Hospital in a manner that will maximize value. Accordingly, the

timely approval of the relief requested herein on an interim basis is imperative.

       25. Section 364(c) of the Bankruptcy Code provides, among other things, that if a trustee

is unable to obtain unsecured credit allowable as an administrative expense under § 503(b)(1) of

the Bankruptcy Code, the court may authorize the trustee to obtain credit or incur debt: (a) with

priority over any and all administrative expenses, as specified in §§ 503(b) or 507(b) of the

Bankruptcy Code; (b) secured by a lien on property of the estate that is not otherwise subject to a

lien; or (c) secured by a junior lien on property of the estate that is subject to a lien. The Trustee

proposes to obtain the Proposed Loan Facility by providing, inter alia, superpriority claims,

security interests and liens pursuant to § 364(c)(1), (2), (3) and (d) of the Bankruptcy Code.

       26. Due to the exigent facts and circumstances noted herein, the Trustee has been unable

to seek or procure other post-petition financing, let alone on more favorable terms and conditions

than those for which the Trustee seeks approval herein.

       27. Bankruptcy courts grant trustees and debtors in possession considerable deference in

acting in accordance with their business judgment. See, e.g., Bray v. Shenandoah Fed. Sav. &

Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986); In re Ames Dep’t Stores,

Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) ("cases consistently reflect that the court's

discretion under Section 364 is to be utilized on grounds that permit reasonable business




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judgment to be exercised so long as the financing agreement does not contain terms that leverage

the bankruptcy process and powers or its purpose is not so much to benefit the estate as it is to

benefit parties in interest"); see also In re Funding Sys. Asset Mgmt. Corp., 72 B.R. 87 (Bankr.

W.D. Pa. 1987); In re Curlew Valley Assocs., 14 B.R. 506, 513-14 (Bankr. D. Utah 1981); In re

Simasko Prod. Co., 47 B.R. 444,449 (D. Colo. 1985).

       28. Furthermore, Section 364(d) does not require that a trustee seek alternative financing

from every possible lender. Rather, a trustee simply must demonstrate sufficient efforts to obtain

financing without the need to grant a senior lien.          Snowshoe Co., 789 F.2d at 1088

(demonstrating that credit was unavailable absent the senior lien by establishment of

unsuccessful contact with other financial institutions in the geographic area); In re 495 Central

Park Ave. Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992) (debtor testified to numerous failed

attempts to procure financing from various sources, explaining that "most lend money only in

return for a senior secured position"); In re Aqua Assocs., 123 B.R. 192, 196 (Bankr. E.D. Pa.

1991) (debtor adequately established that some degree of priming of loan was necessary if debtor

were to obtain funding).

       29. On information and belief, substantially all of Debtor's assets are encumbered by pre-

petition liens, and the Trustee is unable to procure post-petition financing absent granting the

proposed superpriority claims and liens requested herein. The Trustee submits that the

circumstances of this case require the Trustee to obtain the required Proposed Loan Facility

pursuant to Section 364(c) and Section 364(d) of the Bankruptcy Code and, accordingly, the

Proposed Loan Facility reflects the exercise of the Trustee's sound business judgment.

       30. The terms and conditions of the Proposed Loan Facility are fair and reasonable and

were negotiated extensively by well-represented, independent parties in good faith and at arms'-




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length. Accordingly, the Bank, and all obligations incurred under the Proposed Loan Facility

loan documents, should be accorded the benefits of Section 364(e) of the Bankruptcy Code.

                The Automatic Stay Should Be Modified On A Limited Basis

       31. The relief requested herein contemplates a modification of the automatic stay (to the

extent applicable) to permit the Trustee to: (i) grant the security interests, liens and superpriority

claims described in the Stipulation and Agreed Order, and to perform such acts as may be

requested to assure the perfection and priority of such security interests and liens; (ii) permit the

Bank to exercise, upon the occurrence of and during the continuance of an event of default, all

rights and remedies under the Proposed Loan Facility; and (iii) implement the terms of the

proposed Stipulation and Agreed Order.

       32. Stay modifications of this kind are ordinary and standard features of post-petition

debtor financing facilities and, in the Trustee's business judgment, are reasonable and fair under

the present circumstances.

                             Interim Approval Should Be Granted

       33. Bankruptcy Rule 4001(c) provides that a final hearing on a motion to obtain credit,

may not be commenced earlier than fourteen (14) days after the service of such motion. Upon

request, however, the Bankruptcy Court is empowered to conduct a preliminary expedited

hearing on the motion and authorize the obtaining of credit to the extent necessary to avoid

immediate and irreparable harm to the estate pending a final hearing.

       34. Pursuant to Bankruptcy Rule 4001(c), the Trustee requests that the Court conduct an

expedited preliminary hearing on this Motion and: (a) authorize the Trustee to borrow under the

Proposed Loan Facility on an interim basis, pending entry of a final order, in order to (i) obtain

the Proposed Loan Facility, (ii) maintain and finance the ongoing operations of the Hospital




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pending entry of the Final Order, and (iii) avoid immediate and irreparable harm and prejudice to

the estate and all parties-in-interest; and (b) schedule a hearing to consider entry of a final order.

       35. The Trustee has an urgent and immediate need for cash to continue to operate.

Currently, the Trustee does not have sufficient unencumbered funds with which to operate the

Hospital on an ongoing basis. Absent authorization from the Court to obtain secured credit, as

requested, on an interim basis pending a final hearing on this Motion, the estate will be

immediately and irreparably harmed. The availability of use of post-petition secured credit will

provide necessary assurance to the Hospital's vendors, employees, regulators and patients of its

ability to meet its near-term obligations. Failure to meet these obligations and to provide these

assurances likely would have a long-term negative impact on the value of the Hospital's business,

to the detriment of all parties-in-interest. Accordingly, the interim relief requested is critical to

preserving and maintaining the going concern value of the Hospital.

       36. To successfully implement the foregoing, the Trustee seeks a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the fourteen-day stay under Bankruptcy Rule

6004(h).

       WHEREFORE, the Trustee respectfully request that the Bankruptcy Court enter the

Stipulation and Agreed Order granting this Motion in full and granting any other relief as is just

and proper under the circumstances.




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IN THE U.S. BANKRUPTCY COURT, DISTRICT OF KANSAS
In Re: CAH Acquisition Company #5, LLC, Debtor ~ Case No. 19-10359-11 (REN)
Motion for Authority to Obtain Post-Petition Financing…
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                                                  Respectfully Submitted,

                                                  STEVENS & BRAND, LLP



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                        UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF KANSAS AT KANSAS CITY

In re:                                            )
                                                  )
CAH ACQUISITION COMPANY #5, LLC,                  )              Case Number 19-10359
d/b/a HILLSBORO COMMUNITY HOSPITAL,               )              Chapter 11
                                                  )
                      Debtor.                     )



      STIPULATION AND INTERIM ORDER (I) AUTHORIZING SECURED
   POST-PETITION FINANCING ON A SUPERPRIORITY BASIS PURSUANT TO
       11 U.S.C. § 364, (II) AUTHORIZING USE OF CASH COLLATERAL
     PURSUANT TO 11 U.S.C. §§ 363 AND 364, (III) GRANTING ADEQUATE
  PROTECTION PURSUANT TO 11 U.S.C. §§ 363 AND 364, AND (IV) SCHEDULING
       A FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001(C)

         Upon the motion (the "Motion") of Brent King, not individually, but solely in his

capacity as the Chapter 11 Trustee in the above-captioned bankruptcy case (the "Trustee"), for

authority to obtain post-petition financing from Bank of Hays ("Bank"); the Court having

reviewed the Motion, and considered the evidence presented and arguments of counsel; and for



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good and sufficient cause appearing therefore, the Court makes the following findings of fact and

conclusions of law:

                      FINDINGS OF FACT AND CONCLUSIONS OF LAW

I.     Jurisdiction, Venue and Statutory Predicates

       1. On March 13, 2019 (the "Commencement Date"), Cohesive Healthcare Management

+ Consulting, LLC ("Cohesive"), in its capacity as court-appointed receiver, filed a voluntary

petition for CAH Acquisition Company #5, LLC (the "Debtor") under chapter 11 of Title 11 of

the United States Code (the "Bankruptcy Code") in the United States Bankruptcy Court for the

District of Kansas (the "Bankruptcy Court").

       2. On March 26, 2019, the Bankruptcy Court appointed the Trustee as the Chapter 11

trustee for the Debtor pursuant to § 1104(a) of the Bankruptcy Code.

       3. An Official Committee of Unsecured Creditors has not been appointed in this case as

of the date hereof.

       4. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

       5. This Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

       6. Venue is proper in this Bankruptcy Court pursuant to 28 U.S.C. § 1408.

       7. The statutory predicates for the relief requested in this Motion are sections 105, 363,

and 364 of title 11 of the United States Code (the "Bankruptcy Code") and the Federal Rules of

Bankruptcy Procedure (the "Rules") and the local rules of bankruptcy procedure of this Court

(the "Local Rules").

II.    Definitions

       8. Capitalized terms used in this Order and not otherwise defined herein shall have the

meanings ascribed to such terms in the Motion or those certain loan documents and agreements

evidencing or securing the Post-Petition Financing, as hereinafter defined, between the Trustee


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and the Bank, including without limitation, the Bank Pre-Petition Loan Agreements and the

Trustee Loan Agreements (collectively, the "Loan Agreements").

          9. Additionally, for purposes of this Interim Order:

                 a. "Adequate Protection Liens" shall refer to any security interests or liens given

to a party as adequate protection, pursuant to §§ 361, 362, 363 of the Bankruptcy Code or any

other applicable Bankruptcy Code provision, including without limitation, the Replacement

Liens.

                 b. "Avoidance Actions" shall refer to all of the Estate's claims and causes of

actions under §§ 502(d), 542, 544, 545, 547, 558, 549, 550, and 553 of the Bankruptcy Code and

any other avoidance actions under the Bankruptcy Code, and any proceeds thereof or property

received thereby whether by judgment, settlement, or otherwise.

                 c. "Bank" shall mean Bank of Hays.

                 d. "Bank Post-Petition Indebtedness" shall collectively refer to the Post-Petition

Indebtedness and the Receivership Indebtedness as those terms are defined herein.

                 e. "Bank Liens" shall collectively refer to the Bank Pre-Petition Liens and the

Bank Post-Petition Liens granted to the Bank in this Interim Order, as those terms are defined

herein.

                 f. "Bank Pre-Petition Liens" shall refer to the liens and security interests provided

to the Bank by the Debtor prior to the Commencement Date, including but not limited to all

proceeds thereof.

                 g. "Bank Post-Petition Liens" shall refer to the liens and security interests being

provided to the Bank under this Interim Order, including, without limitation, the Post-Petition

Loan Collateral, the Primed Collateral and the Replacement Liens, to secure the Bank Post-




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Petition Indebtedness.

                h. "Collateral" shall collectively refer to the Post-Petition Loan Collateral, the

Replacement Collateral granted to the Bank in this Interim Order, the Bank Pre-Petition

Collateral and Cash Collateral as those terms are defined herein.

                i. "Estate" shall refer to the bankruptcy estate of CAH Acquisition Company #5,

LLC.

                j. "Excluded Post-Petition Collateral" shall refer to the equipment on which U.S.

Bancorp Equipment Finance, Inc. or First Financial Corporate Leasing, LLC claim a perfected

security interest.

                k. "Permitted Liens" shall refer to any deeds of trust, security interests,

mortgages, or liens of parties other than the Bank that pursuant to applicable non-bankruptcy law

existed and were properly perfected, valid, and enforceable as of the Commencement Date (or

become properly perfected after the Commencement Date under Code § 546(b)), and which are

non-avoidable under the Code or applicable non-bankruptcy law, but do not include Adequate

Protection Liens.

                l. "Post-Petition Indebtedness" shall mean all amounts advanced to the Trustee

under the Post-Petition Financing, all accrued interest thereon, plus all costs, expenses and

attorneys' fees incurred by the Bank in any way related to the Post-Petition Financing and the

Bank's enforcement of thereof.

                m. "Post-Petition Loan Collateral" shall refer to all pre-petition and post-petition

property of the Debtor and the Estate of any nature whatsoever and wherever located, tangible or

intangible, whether now or hereafter acquired, whether existing on the Commencement Date or

thereafter acquired, including without limitation, the Avoidance Actions (except any that might




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exist against Bank), any and all cash and Cash Collateral of the Debtor and the Estate and any

investment of such cash and Cash Collateral, any goods, inventory or equipment, any accounts

receivable, any other right to payment whether arising before or after the Commencement Date,

contracts, properties, plants, general intangibles, documents, instruments, interests in leaseholds,

real properties, patents, copyrights, trademarks, trade names, other intellectual property, capital

stock of subsidiaries and the proceeds, products, offspring or profits of each of the foregoing.

               n. "Primed Collateral" shall refer to all assets of the Debtor and the Estate,

including but not limited to the Post-Petition Loan Collateral and the Bank Pre-Petition

Collateral; provided, however, that the Primed Collateral shall not include the Excluded

Collateral.

               o. "Receivership Indebtedness" shall refer to all amounts advanced by the Bank

to Cohesive prior to the Commencement Date.

III.   Notice and Record

       10. Notice of the Interim Hearing and the relief requested in the Motion has been

provided by facsimile or overnight mail to: (1) the U.S. Trustee ("UST"); (2) counsel, if known,

to the Prepetition Lenders; (3) parties with liens of record on assets of the Debtor as of the

Commencement Date; (4) counsel to the Bank; and (5) the Debtor's twenty (20) largest

unsecured creditors, as identified in the Debtor's bankruptcy filings.

       A.      Adequate and sufficient notice of the Preliminary Hearing and the relief requested

in the Motion, as evidenced by the applicable certificates of service filed with the Court and as

stated on the record, have been given in accordance with the provisions of §§ 102(1), 363,

364(c) and (d) of the Bankruptcy Code and Rules 2002, 4001(c), and 4001(d), and the Local

Rules. Under the circumstances, no further notice is required.




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       B.      At the Preliminary Hearing, the Court considered representations made by

counsel, offers of proof, and/or testimony regarding: (1) The negotiations pertaining to this

Interim Order; (2) the necessity for this Interim Order; (3) the events leading up to the filing of

the bankruptcy case; (4) the Trustee's need for credit to the extent necessary to avoid immediate

and irreparable harm to the Estate, pending a final hearing in accordance with Rule 4001(c); and

(5) those expenses necessary to avoid immediate and irreparable harm to the Estate.

       C.      The Motion contains the necessary findings and disclosures under Rules 4001(c)

and (d).

II.    Debtor's Background

       A.      The Bank Pre-Petition Indebtedness

       11. Prior to the Commencement Date, on December 30, 2015, the Debtor executed a

Promissory Note in favor of the Bank, evidencing a loan made by the Bank to the Debtor in the

original principal amount of $9,710,885.00 (the "Note").

       12. To secure the amounts owing under the Note, the Debtor executed a Mortgage in

favor of the Bank (the "Mortgage"), granting the Bank a first lien on the real estate located at 101

Industrial Rd., Hillsboro, Kansas 67063 (the "Real Estate").

       13. The Mortgage was recorded in the Marion County, Kansas Register of Deeds Office

on December 30, 2015, at Book 470 Page 993.

       14. To further secure the amounts owing under the Note, the Debtor executed a Security

Agreement in favor of the Bank (the "Security Agreement"), granting the Bank a security interest

in all personal property assets of the Debtor (the "Personal Property" and together with the Real

Estate, the "Collateral"). The Bank perfected its security interest in the Collateral by filing a

UCC-1 financing statements with the Delaware Secretary of State (collectively, the "UCC-1's").

(The Note, the Mortgage and the Security Agreement, UCC-1's, and all documents related


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thereto, are collectively referred to hereafter as the "Pre-Petition Loan Documents").

       15. The Debtor has failed to make the payment required under the Note since October

2018 and is in default under the Loan Documents.

       16. As of January 7, 2019, the Debtor is liable to the Bank under the Loan Documents in

the following amounts: $9,663,421.19 in principal, plus interest in the amount of $178,788.00 as

of January 7, 2019, plus late fees in the amount of $125.00, totaling $9,842,334.20, plus interest

thereafter at the rate of 7.0% per annum until paid in full together with collection costs, costs of

title work, costs of publication, attorney fees and any funds advanced pursuant to the terms of the

Loan Document, including for unpaid real estate taxes (collectively, the "Bank Pre-Petition

Indebtedness").

       17. Further, Debtor's cash generated from the Bank Pre-Petition Collateral constitutes

proceeds of the Bank Pre-Petition Collateral and, therefore, is cash collateral of the Bank within

the meaning of § 363(a) of the Bankruptcy Code ("Cash Collateral").

       B.      Other Pre-Petition Lenders

       18. The Public Building Commission of Hillsboro, Kansas (the "PBC") owns fee title to

the land upon which the Hillsboro Hospital was built, and leases that land, as well as an

adjoining parking lot, to the City of Hillsboro, Kansas (the "City"). The City subleases the land

to the Debtor under the terms of a sublease agreement between the City and the Debtor. The

lease payments from the Debtor to the City, and then from the City to the PBC, are used to pay-

off bond financing the PBC undertook in 2015 as part of the project to build the Hillsboro

Hospital. Security Bank of Kansas City ("Security Bank") is the bond trustee for the bonds

described herein. Any interest of Security Bank, the PBC or the City in the Collateral is junior

and inferior to the Bank's properly perfected mortgage lien on the real estate and its properly

perfected security interest in the personal property of the Debtor.


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       19. The Kansas Department of Revenue may claim a lien on some or all of the Debtor's

assets pursuant to tax warrants 2017-ST-87, 2018-ST-4 and 2018-ST-72 (the "Tax Warrants").

Any interest of the Kansas Department of Revenue in the Collateral by virtue of the Tax

Warrants is junior and inferior to the Bank's properly perfected lien on and security interest in

the Collateral.

       20. App Group International, LLC ("AGI") may claim a security interest in some or all

of the Debtor's personal property assets. On information and belief, AGI failed to file a UCC-1

financing statement in the Debtor's state of incorporation; consequently, any security interest

AGI may have held was unperfected as of the Commencement Date. Thus, any security interest

of AIG is junior and inferior to the Bank's properly perfected security interest and any security

interest of AIG is almost certainly avoidable under § 544 of the Bankruptcy Code.

       21. U.S. Bancorp Equipment Finance, Inc. may claim a perfected security interest in

some of the Debtor's equipment.

       22. First Financial Corporate Leasing, LLC may claim a perfected security interest in

some of the Debtor's equipment.

       23. Health Acquisition Company, LLC, as successor in interest to HMC/CAH Note

Acquisition, LLC ("HAC") and as assignor of an alleged security interest granted by the Debtor

to Gemino Healthcare Finance, LLC (“Gemino”), may claim a security interest in some or all of

the Debtor's personal property assets. On information and belief, HAC's predecessor terminated

its UCC-1 financing statement on February 4, 2016, in the Debtor's state of incorporation and

Gemino never filed a UCC-1 financing statement in Debtor’s state of incorporation.

Consequently, any security interest HAC may have held or claim was unperfected on the

Commencement Date. Any security interest of HAC is junior and inferior to the Bank's properly




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perfected security interest and any security interest of HAC is almost certainly avoidable under

§ 544 of the Bankruptcy Code.

       24. GEL Funding, LLC (“GEL”) may claim a perfected security interest in Debtor’s

assets by virtue of a UCC-1 financing statement filed on March 1, 2019. Any security interest of

GEL is junior and inferior to the Bank's properly perfected security interest. Moreover, because

the financing statement was filed within 90 days of the Commencement Date and after the

appointment of Cohesive as receiver for the Debtor, the security interest is avoidable either under

§ 547(b) of the Bankruptcy Code as a preference or under § 544 of the Bankruptcy Code as

unauthorized.

       C.       Trustee's Need for Post-Petition Financing

       25. The Hospital does not have sufficient available sources of working capital and

financing to operate in the ordinary course of business or operate maintain the property in

accordance with state and federal law. The access of the Trustee to sufficient working capital

and liquidity through the use of Cash Collateral, and incurrence of new indebtedness for

borrowed money and other financial accommodations is vital to the preservation and

maintenance of the going concern values of the Hospital.

       26. The Bank has indicated a willingness to extend post-petition credit up to an

aggregate principal amount not to exceed $650,000 and accrue interest at the rate of 7% per

annum subject to the terms and conditions of the Trustee Loan Agreements and this Interim

Order (the "Post-Petition Financing"). In order to facilitate the Post-Petition Financing and in

exchange for the relief and concessions given by the Trustee as set forth herein, the Bank shall

receive a senior priming lien on the Primed Collateral securing all the Post-Petition Financing as

well as the Receivership Indebtedness up to $1,200,000.00.

       27. The Trustee believes he is unable to obtain working capital financing allowable as an


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administrative expense under § 503(b)(1) of the Bankruptcy Code. Except for the proposed

financing from the Bank described herein, the Trustee is also unable to obtain working capital

financing (1) allowable with priority as a superpriority administrative expense under § 364(c)(1)

of the Bankruptcy Code; (2) secured by a senior lien on the Debtor's unencumbered assets under

§ 364(c)(2) of the Bankruptcy Code; or (3) secured by a junior lien on the Debtor's encumbered

assets under § 364(c)(3) of the Bankruptcy Code. After considering all alternatives, the Trustee

has concluded, in the exercise of his business judgment, that the financing offered by the Bank

represents the best working capital financing option. In order to maximize the value of the

Estate's assets, the Trustee has an immediate need for the financing set forth in this Interim

Order.

         28. The relief requested in the Motion is necessary, essential, and appropriate for the

preservation of the Estate, and is in the best interests of the Estate and the Debtor's creditors. In

the absence of the Post-Petition Financing, the Hospital will not be able to continue operations

and would cause serious and irreparable harm to the Estate and its creditors.

         29. The terms and conditions of the Post-Petition Financing are fair, reasonable, and the

best available under the circumstances, reflect the Trustee's exercise of prudent business

judgment consistent with his fiduciary duties, and constitute reasonably equivalent value and fair

consideration.

         30. Based on the record presented to the Court by the Trustee at the Preliminary Hearing,

the terms of the Post-Petition Financing as set forth in the Motion, this Interim Order and the

Post-Petition Loan Agreements have been negotiated in good faith and at arm's length between

the Trustee and the Bank. The credit to be extended by the Bank pursuant to this Interim Order

and the Post-Petition Loan Agreements is being extended in good faith as that term is used in §




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364(e) of the Bankruptcy Code.

IV.    Stipulations

       31. The Trustee and the Bank have agreed to the terms of this Order. Absent the entry of

this Interim Order, the Bank would not provide the Post-Petition Financing. In consideration of

the Bank providing to the Trustee the Post-Petition Financing, the Trustee, on behalf of the

Debtor and the Estate:

               a. Stipulates and agrees that the Bank Pre-Petition Indebtedness (a) constitutes

the legal, valid, and binding obligations of the Debtor, enforceable in accordance with their terms

(other than in respect of the automatic stay arising under § 362 of the Bankruptcy Code); (b) is

now due and owing in its entirety, without any defense, off-set, recoupment, claim, counterclaim,

or deduction of any kind or nature whatsoever; (c) is not subject to avoidance, recharacterization,

recovery, or subordination pursuant to the Bankruptcy Code or applicable non-bankruptcy law.

               b. Stipulates and agrees that the Receivership Indebtedness (a) constitutes the

legal, valid, and binding obligations of the Debtor, enforceable in accordance with their terms

(other than in respect of the automatic stay arising under § 362 of the Bankruptcy Code); (b) is

now due and owing in its entirety, without any defense, off-set, recoupment, claim, counterclaim,

or deduction of any kind or nature whatsoever; (c) is not subject to avoidance, recharacterization,

recovery, or subordination pursuant to the Bankruptcy Code or applicable non-bankruptcy law;

and (d) is oversecured and entitled to the benefits and privileges of the same pursuant to § 506(b)

of the Bankruptcy Code, including, without limitation, that the Receivership Indebtedness will

continue to accrue interest at the rate of 7% per annum.

               c. Stipulates and agrees that the security interests and liens granted to the Bank

by the Debtor prior to the Commencement Date in the Bank Pre-Petition Collateral (collectively,

the "Pre-Petition Bank Liens"), including, without limitation, any security interests, or liens


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granted pre-petition pursuant to any security agreement, pledge agreement, deed of trust,

mortgage, or other security document executed by the Debtor in favor of the Bank, are (a) legal,

valid, binding, perfected, and enforceable, security interests, and liens; (b) not subject to

avoidance, recharacterization, or subordination pursuant to the Bankruptcy Code or applicable

non-bankruptcy law; and (c) subject and subordinate only to any Permitted Liens that, pursuant

to applicable law, were in fact senior in priority to the Pre-Petition Bank Liens as of the

Commencement Date except as otherwise provided for by this Interim Order or any subsequent

Final Order.

               d. Release and forever discharge the Bank and its officers, directors,

shareholders, representatives, agents, attorneys, advisors, employees, insurers, successors,

assigns, affiliates, and subsidiaries (collectively, the "Released Parties"), from any and all debts,

liabilities, expenses, obligations, claims, counterclaims, charges, actions, damages, rights of

action, and causes of action (including any Chapter 5 causes of action under the Code, any so

called "Lender liability" claims or defenses; and claims pursuant to § 506(c) of the Bankruptcy

Code), of whatever kind or nature, whether known or unknown, developed or undeveloped,

anticipated or unanticipated, which arose on or prior to the date this Interim Order; and

               e. Waive, as of the Commencement Date, the right to (a) challenge the existence,

legality, validity, enforceability, or amount of the Bank Pre-Petition Indebtedness and the Pre-

Petition Bank Liens; (b) assert defenses, counterclaims, recoupment or setoffs with respect to the

Bank Pre-Petition Indebtedness or Pre-Petition Bank Liens; and (c) seek affirmative relief or

bring any claims or causes of action against the Bank, or any of the other Released Parties,

including, without limitation, any claims or causes of action under §§ 506(c), 542, 544, 545, 547,

548, 549, 550, 551, or 553 of the Bankruptcy Code.




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         NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

         32. The Motion is granted, subject to the terms and conditions set forth in this Interim

Order.

         33. Authorization to Obtain Post-Petition Financing. The Trustee is hereby authorized to

obtain the Post-Petition Financing and additionally to borrow money and seek other financial

accommodations from the Bank after the Commencement Date pursuant to the terms and

conditions of this Interim Order and the Loan Agreements. The Bank is authorized to advance

funds constituting Post-Petition Financing subject to the terms and conditions of this Interim

Order and the Loan Agreements. The Trustee is authorized to use the proceeds of any loans

("Loans") made under the Post-Petition Financing, strictly as provided for and limited in the

Budget for operations of the Hospital and the administration of this bankruptcy case (all such

Loans and diminution from use of Cash Collateral and other Collateral (as defined below)

collectively shall constitute, the "Post-Petition Indebtedness"), provided, that the proposed Loans

are consistent with the terms and conditions of the Loan Agreements and this Interim Order and

will only be used to pay when due the expenses set forth in the Budget. The Trustee is further

authorized to execute all documents reasonably required by the Bank in connection with Post-

Petition Financing, including, without limitation, any amendments, modification or change in

terms agreements with respect to the same.

         34. Loan Agreement Terms Remain in Full Force and Effect. During the term of this

Interim Order, the terms and conditions of the Loan Agreements shall continue in full force and

effect with respect to the Bank Pre-Petition Indebtedness, Loans and other advances under the

Post-Petition Financing except as otherwise modified in this Interim Order.

         35. Superpriority Claim. Pursuant to § 364(b) of the Bankruptcy Code, the Bank Post-

Petition Indebtedness shall constitute an allowed administrative expense of the Estate under §


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503(b)(1) of the Bankruptcy Code. In accordance with § 364(c)(1) of the Bankruptcy Code, the

Post-Petition Indebtedness and the Receivership Indebtedness up to a maximum amount of

$1,200,000.00 shall constitute claims (the "Superpriority Claims") with priority in payment over

any and all administrative expenses of the kinds specified or ordered pursuant to §§ 503(b) or

507(b) of the Bankruptcy Code and all administrative expenses under §§ 105, 326, 328, 330,

331, 503(b), 506(c), 507(a), 507(b), 546, 726, 1113 or 1114 of the Bankruptcy Code, subject

only to the Carve Out to the extent specifically provided for herein. No cost or expense of

administration under the previously referenced Bankruptcy Code sections shall be senior to, or

pari passu with, the Superpriority Claims of the Bank arising out of the Post-Petition

Indebtedness, subject only to the payment of the Carve-Out to the extent specifically provided

for herein.

       36. Bank Indebtedness Security.

               a. Senior Liens on Unencumbered Property. Pursuant to § 364(c)(2) of the

Bankruptcy Code, the Bank Indebtedness shall be secured by a valid, binding, continuing,

enforceable, fully perfected first priority senior security interest in and lien upon all Collateral,

whether now or existing or hereafter acquired and all proceeds thereof, that, on or as of the

Commencement Date, is not subject to a valid, perfected and non-avoidable lien in favor of a

third party, including, without limitation, the Avoidance Actions.

               b. Junior Liens on Encumbered Property. Pursuant to § 364(c)(3) of the

Bankruptcy Code, the Bank Indebtedness shall be secured by a valid, binding, continuing,

enforceable, fully perfected junior security interest in and lien upon all Collateral, whether now

or existing or hereafter acquired and all proceeds thereof, that, on or as of the Petition Date, that

is subject to a Permitted Lien; provided, however, that the Bank Pre-Petition Indebtedness is




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secured by liens that are senior to the Permitted Liens that such liens will retain their senior and

superior status over the Permitted Liens.

               c. Priming Liens on Encumbered Property.           Pursuant to § 364(d)(1) of the

Bankruptcy Code, all of the Post-Petition Indebtedness and the Receivership Indebtedness up to

$1,200,000.00 shall be secured by a valid, binding, continuing, enforceable, fully perfected first

priority senior priming security interest in and lien upon all Primed Collateral whether now or

existing or hereafter acquired and all proceeds thereof, and in the proceeds of Post-Petition

Collateral secured by Permitted Liens to the extent necessary to secure the repayment of any

proceeds of the Post-Petition Financing that are used to satisfy the reasonable and necessary

costs and expenses of preserve such collateral to the extent of any direct benefit to any holder of

a Permitted Lien.

               d. Protection of Priority. The Bank Liens shall not be (i) subject or subordinate to

(a) any lien or security interest that is avoided and preserved for the benefit of the Estate under §

551 of the Bankruptcy Code or (b) any liens arising after the Commencement Date including,

without limitation, subject to and effective upon entry of the a final Post-Petition Financing

Order, any liens or security interests granted in favor of any federal, state, municipal or other

governmental unit, commission, board or court for any liability of the Debtor or the Estate; or (ii)

subordinated to or made pari passu with any other lien or security interest under §§ 363 or 364

of the Bankruptcy Code or otherwise; including, with limitation, the Adequate Protection Liens.

       37. Perfection of Bank Liens.

               a. Automatic Perfection. The Bank Liens shall be effective and perfected upon

the date of this Interim Order without necessity for the execution or recordation of filings of

deeds of trust, mortgages, security agreements, control agreements, pledge agreements, financing




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statements or similar documents, or the possession or control by the Bank of, or over, any

Collateral.

               b. Authorization to File Perfection Documents. The Bank is hereby authorized,

but not required, to file or record financing statements, trademark filings, copyright filings, deeds

of trust, mortgages, notices of lien or similar instruments in any jurisdiction, or to take

possession of or control over, or take any other action (including taking or releasing any liens or

pledges granted by this Interim Order) in order to validate and perfect the Bank Liens granted to

it hereunder. Whether or not the Bank shall, in its sole discretion, chose to file such financing

statements, trademark filings, copyright filings, deeds of trust, mortgages, notices of lien or

similar instruments that may be otherwise required under federal or state law in any jurisdiction,

or take any action, including taking possession, to validate and perfect such interests and liens,

such liens and security interests shall be deemed valid, perfected, allowed, enforceable, non-

avoidable and not subject to challenge dispute or subordination, as of entry of this Interim Order.

               c. Trustee's Cooperation. The failure of Trustee to execute any documentation

relating to the enforceability, priority or perfection of the Bank Liens shall in no way affect the

validity, perfection or priority of such liens and security interests. If the Bank, in its sole

discretion, elects to file any financing statements, trademark filings, copyright filings, deeds of

trust, mortgages, notices of lien or similar instruments, or otherwise confirm perfection of the

Bank Liens, the Trustee shall cooperate with and assist in such process, the stay imposed under §

362 of the Bankruptcy Code is hereby lifted to permit the filing and recording of a certified copy

of this Interim Order or any such financing statements, trademark filings, copyright filings, deeds

of trust, mortgages, notice of lien or similar instruments, and all such documents shall be deemed

to have been filed and recorded at the time of and on the date of this Interim Order. Upon the




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request of the Bank, without any further consent of any party, the Trustee is authorized to take,

execute, deliver and file such documents (in each case without representation and warranty of

any kind) to enable the Bank to further validate, perfect, preserve and enforce the Bank Liens.

               d. Filing of the Order. A certified copy of this Interim Order may, in the

discretion of the Bank, be filed with or recorded in filing or recording offices in addition to or in

lieu of such financing statements, trademark filings, copyright filings, deeds of trust, mortgages,

notice of lien or similar instruments, and all filing offices are hereby authorized to accept such

certified copy of this Interim Order for titling and recording.

               e. Depository Accounts. All depository institutions where the Debtor, the Estate

or the Trustee has one or more depository accounts shall share control with the Bank with respect

to each depository account enforceable by the Bank against, and binding upon, each depository

institution party thereto until the Bank Indebtedness is paid in full and the Loan Agreements

shall have been terminated.

               f. Subsequent Liens. If, in the course of this bankruptcy case, and contrary to the

provisions in this Interim Order, the Bankruptcy Court grants liens or security interests to others

pursuant to § 364(d) of the Bankruptcy Code or any other provision of the Bankruptcy Code,

which liens or security interests are senior or equal to the liens or security interests of the Bank in

the Collateral (collectively, "Subsequent Liens"), then any proceeds of loans or extensions of

credit secured by such Subsequent Liens shall be applied first to payment of the Bank Pre-

Petition Indebtedness, then to the Receivership Indebtedness, and then to the Post-Petition

Indebtedness. The Bank shall retain all liens and security interests held by it on the Collateral

until the Bank Indebtedness is paid in full.

       38. Budget.




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               a. Initial and Proposed Budgets. Attached hereto as Exhibit A is a budget for the

period from May 1, 2019 through and including July 15, 2019 (the "Initial Budget"), which has

been consented to by the Bank. The Trustee shall file a proposed budget for the period of July

15, 2019 through August 1, 2019 (collectively, the "Proposed Budgets"). Prior to filing any

Proposed Budget, the Trustee shall discuss the same with Bank and shall use best efforts to

achieve a consensual budget. Parties in interest will have seven (7) days from the date the

Proposed Budgets are filed to object to the Proposed Budgets. If no timely objections are

received, then the Proposed Budget will become the final budget for the time period for which it

covers (the "Final Budget", together with the Initial Budget, the "Budget"). To the extent that an

objection is raised, then the Trustee shall immediately arrange a hearing with the Court prior to

the end of the period for which there is a Budget in place.

               b. Authorization to Pay Budgeted Expenses. The Budget reflects, on a line item

basis, anticipated cash receipts and expenditures on a weekly basis and includes all necessary

and required expenses that the Trustee expects to incur during each week of the Budget. Without

prior approval of the Bankruptcy Court or the express written consent of the Bank, the Trustee

shall pay the reasonable amounts which are actual, necessary expenses in the operation of its

business not to exceed one hundred and ten percent (110%) of the amount stated on any single

Budget line item; provided, however, that in no event shall the total amount expended authorized

by this Interim Order exceed one hundred and five (105%) of the total amount of expenses stated

in the Budget for any given week without prior approval of the Bankruptcy Court or the express

written consent of the Bank; further provided that in no event should Cash Collateral be used to

pay pre-petition claims or obligations, other secured claims or obligations to insiders, unless

specifically authorized by separate order from this Court and to the extent such payment does not




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exceed the parameters of the Budget.

       39. Carve-Out. Any provision of this Interim Order or the Loan Agreements to the

contrary notwithstanding, the Bank Liens and Superpriority Claims granted to the Bank pursuant

to the Loan Agreements and this Interim Order shall be subject and subordinate to a carve out

(the "Carve-Out") for:

               a. UST and Court Fees. Amounts payable to the United States Trustee pursuant to

28 U.S.C. § 1930(a) and any fees payable to the Clerk of the Bankruptcy Court;

               b. Chapter 11 Trustee Fees and Professional Fees and Expenses. The payment

pursuant to Orders of the Bankruptcy Court, in form and substance reasonably satisfactory to the

Bank, of allowed unpaid Trustee fees and allowed unpaid professional fees, costs and expenses

of the retained attorneys by the Trustee or any committee appointed in this case (collectively, the

"Trustee and Professional Fees and Expenses"), only to the extent that such Trustee and

Professional Fees and Expenses:

                         (i) were incurred or accrued prior to the earlier of (a) the Termination

                         Date or the expiration of the Initial Term, or, if applicable, the Extended

                         Term, or (b) receipt by the Trustee post-petition of notice of an Event of

                         Default;

                         (ii) are in accordance with the Budget;

                         (iii) do not exceed the amounts for each respective retained professional

                         during the Initial Budget:

                                Trustee Fees                                 $95,000
                                Trustee's Counsel                            $95,000
                                Trustee's Financial Advisor                  $25,000




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                       Less (A) any unapplied prepetition retainers with respect to each retained

                       professional, (B) the amounts already paid to such professionals in the

                       case, (C) and any unencumbered funds in the Estate and the proceeds of

                       any unencumbered property of the Estate generally available to pay such

                       Trustee and Professional Fees and Expenses. In no event shall any

                       retainers or the Carve Out be used to pay any fees or expenses arising after

                       the conversion of this case to a case under Chapter 7 of the Bankruptcy

                       Code. Nothing herein shall be construed as consent to the allowance of

                       any fees and expenses of a retained professional, or shall affect any party's

                       rights to object to the allowance and payment of such fees and expense, all

                       of such rights being expressly preserved.

               c. No Contest Clause. Notwithstanding anything herein to the contrary, no

portion of the Post-Petition Financing or the Carve-Out shall be used or available to pay Trustee

and Professional Fees and Expenses incurred by any party in connection with the assertion or

joinder in any claim, counterclaim, action, proceeding, application, motion, objection, defense or

other contested matter or adversary proceeding seeking the entry of any order, judgment, or

determination (i) challenging the amount, extent, validity, perfection, priority or enforceability of

the Bank Liens, Superpriority Claims granted herein to Bank, and the Bank Indebtedness; (ii)

invalidating, setting aside, avoiding, subordinating, or otherwise, affecting the Bank's claims and

interests in the case; (iii) preventing, hindering or delaying the Bank's assertion or enforcement

of the Bank Liens or realization upon any Collateral; (iv) approving either (A) the sale or other

disposition of any Collateral which is not permitted under the Loan Agreements, or (B) the

incurrence of any indebtedness which is not permitted under the Loan Agreements or under the




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Budget, in each case, to the extent the Bank has not provided its express written consent; or (v)

asserting any other claims or causes of action against the Bank.

       40. Application of Payments.         Proceeds or payments received by the Bank, or any

advances or reserves contemplated herein, shall be applied by the Bank as follows:

               a. First, to the payment of the Receivership Indebtedness;

               b. Second, to the payment of Post-Petition Indebtedness including all accrued and

accruing interest, costs and expenses, including reasonable attorneys' fees; and

               c. Third, to the payment of Bank Pre-Petition Indebtedness.

       41. Term.

               a. Initial Term. The agreement by the Bank to make any Post-Petition Financing

available to the Trustee under the Loan Agreements shall continue until and shall include August

1, 2019, or such earlier date as all Bank Indebtedness is paid in full, unless (a) terminated prior to

this date upon the occurrence of the Termination Date or (b) otherwise pursuant to the terms of

the Loan Agreements or this Interim Order (the "Initial Term"). During the Initial Term, the

Trustee is required to pursue potential sale opportunities with respect to the Debtor's Assets.

Debtor shall provide a report to the Bank on the 30th day of each month detailing its efforts to

secure refinancing or sale opportunities.

               b. Extension of Term. The Initial Term may be extended only upon written

agreement of the Bank and the Trustee in which case the Initial Term shall be extended without

further order of the Bankruptcy Court. In the event that the Bank and the Trustee agree in

writing to extend the Initial Term, the terms and conditions of this Interim Order, the Loan

Agreements, and all documents and orders related thereto, shall continue to govern the Post-

Petition Financing through such extended term. In addition, in the event that the Bank and the




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Trustee agree in writing to extend the Initial Term, the Trustee shall file a notice with the

Bankruptcy Court of the extended term.

                c. Termination of Post-Petition Financing and Use of Cash Collateral.         If a

Default or an Event of Default as defined in the Loan Agreements, or in this Interim Order (other

than those Defaults or Events of Default excepted in this Interim Order) occurs, the Bank shall

have the right to immediately suspend funding under the Post-Petition Financing after the Bank

provides forty-eight (48) hours (the "Notice Period") prior written notice to the Trustee ("Default

Notice"), and the Bank may terminate the Post-Petition Financing (the date of any such

termination, the "Termination Date") and declare the Loans to be immediately due and payable.

Moreover, the automatic stay pursuant to Code § 362(a) shall be deemed lifted and modified,

without further order of this Court, to permit the Bank to exercise any and all of its rights and

remedies under the Loan Agreements and this Interim Order; provided, however, that the

obligations and rights of the Bank and the Trustee with respect to all transactions which have

occurred prior to the Termination Date shall remain unimpaired and unaffected by any such

termination and shall survive such termination; and provided, further, that upon such

termination, the Bank shall be deemed to have retained all of its rights and remedies, including,

without limitation, as provided in the Loan Agreements and under the Bankruptcy Code and

Rules.    The Trustee's right to use Cash Collateral shall terminate automatically on the

Termination Date. Further, this Interim Order is without prejudice to (a) the Bank seeking the

early termination of the Post-Petition Financing and Trustee's interim use of Cash Collateral

prior to the expiration of this Interim Order for cause, including lack of adequate protection; or

(b) Trustee's opposing such early termination.

         42. Events of Default. An Event of Default under this Interim Order shall include:




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               a. The entry of an order dismissing this case or converting this case to a case

under chapter 7 of the Bankruptcy Code;

               b. The entry of an order transferring the venue of this case to any court other than

the Bankruptcy Court;

               c. The entry of an order granting any other claim a lien equal or superior to the

claims and liens granted to the Bank;

               d. The entry of an order staying, reversing, vacating or otherwise modifying the

Post-Petition Financing under this Interim Order without the Bank's prior written consent;

               e. The entry of an order in this case appointing an examiner having enlarged

powers beyond those set forth under § 1106(a)(3) and (4) of the Bankruptcy Code;

               f. An Event of Default or Default under the Loan Agreements (except those

defaults which arise on account of the bankruptcy filing);

               g. Any post-petition material representation or material warranty by the Trustee

that is incorrect or misleading in any material respect when made;

               h. There shall occur a material adverse disruption or change in the operation of

the Hospital or a change of control shall occur other than: (i) with the Bank's consent; or (ii)

pursuant to a plan of reorganization or liquidation in which the Bank Indebtedness is repaid in

full, on the effective date of such plan unless otherwise consented by the Bank in its sole

discretion;

               i. The entry of any order granting any relief from the automatic stay so as to

allow a third party to proceed against any material asset or assets of the Estate, other than

relating to assets subject to Permitted Liens which if granted will not materially or adversely

affect current operations;




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               j. The commencement of any actions adverse to the Bank or its rights and

remedies under this Interim Order or any other Bankruptcy Court order;

               k. The entry of an order confirming a plan of reorganization in case unless such

order provides for payment in full in cash of all Bank Indebtedness on or before the effective

date of the plan of reorganization (which must be no more than 30 days after the a confirmation

order) that is the subject of such order, unless otherwise consented by the Bank in its sole

discretion;

               l. The failure to pay in full the Bank Indebtedness by the last day of the Initial

Term, unless otherwise extended the terms of the Interim Order;

               m. The expenditures of the Trustee exceed the allowed variances as set forth

herein;

               n. Entry of an order granting, or there shall arise, a claim that is equal or senior to

the superpriority claims of the Bank;

               o. The cessation of day-to-day operations of the Hospital;

               p. Any loss of accreditation or licensing of the Hospital that would materially

impede or impair the Hospital's ability to operate as a going concern;

               q. The assertion by the Trustee (or any other party in interest) of claims arising

under § 506(c) of the Bankruptcy Code against the Bank or the commencement of other actions

adverse to the Bank or its rights and remedies under this Interim Order, or any other Bankruptcy

Court order;

               r. Any material provision of this Interim Order for any reason ceases to be

enforceable, valid, or binding upon the Trustee or the Estate, or any party so asserts in writing;

               s. Trustee's failure to use commercially reasonable efforts to pursue sale




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opportunities during the Initial Term;

               t. Trustee's failure to use commercially reasonable best efforts to pursue sale and

refinancing opportunities during any extended term; and

               u. The entry of a Final Order that is agreed to by the Bank approving the Motion

shall not have occurred within thirty (30) days after May 3, 2019.

The term "Default" herein means the occurrence of any event which except for the passage of

time or the giving of notice or both would constitute an Event of Default (as defined in the Loan

Agreements or in this Interim Order (other than those Defaults or Events of Default excepted in

this paragraph)).

       43. Remedies Upon Default. Upon the occurrence of a Default or an Event of Default

and after the Notice Period has expired and no applicable Court Order has been entered, the

Bank may exercise its rights and remedies and take all or any of the following actions without

further modification of the automatic stay pursuant to § 362 of the Bankruptcy Code which is

hereby deemed modified and vacated to the extent necessary to permit such exercise of rights

and remedies and the taking of such actions and without further order of or application to this

Bankruptcy Court: (a) suspend all Post-Petition Financing and Loans to the Trustee, and enjoin

and prohibit the Trustee from using Cash Collateral to the extent that such Default or Event of

Default would permit such relief under the Loan Agreements, as amended hereby; (b) suspend

amounts in any accounts maintained with the Bank, or otherwise enforce rights against all or part

of any Collateral in the possession of the Bank to the extent that such Default or Event of Default

would permit such relief under the Loan Agreements (as amended in this Interim Order with

additional notice periods and otherwise); and/or (c) subject to the provisions this Order, take any

other action or exercise any other right or remedy of the Bank under the Loan Agreements, this




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Interim Order, or by operation of law. Upon the Trustee's receipt of a Default Notice, the

Trustee shall immediately cease making any disbursements pursuant to the Budget or otherwise,

subject to further order of the Bankruptcy Court after notice and a hearing.

       44. Reimbursement of Bank's Costs and Fees. Without further order of this Bankruptcy

Court, and in consideration of other accommodations provided by the Bank, the Estate shall

reimburse the Bank for all reasonable out of pocket filing and recording fees, reasonable

professional fees, and costs and expenses and internal audit fees and expenses incurred by the

Bank: (a) in the preparation and implementation of this Interim Order and the various Loans and

other Post-Petition Financing; (b) in the representation of the Bank in this proceeding; and (c) as

otherwise provided in the Loan Agreements (the Bank’s Costs and Fees”). The Bank's Costs and

Fees will be part of the Post-Petition Indebtedness.

       45. Good Faith Protections. Having been found to be extending credit and making

Loans to the Trustee in good faith, the Bank shall be entitled to the full protection of § 364(e) of

the Bankruptcy Code with respect to the Post-Petition Financing and the Bank Liens created or

authorized by this Interim Order in the event that this Interim Order or any authorization

contained herein is stayed, vacated, reversed or modified on appeal. Any stay, modification,

reversal or vacation of this Interim Order shall not affect the validity of any obligation of the

Estate to the Bank incurred pursuant to this Interim Order. Notwithstanding any such stay,

modification, reversal or vacation, all Loans made pursuant to this Interim Order, all use of Cash

Collateral and all other Post-Petition Financing incurred by the Trustee pursuant hereto or the

Loan Agreements prior to the effective date of any such stay, modification, reversal or vacation,

shall be governed in all respects by the provisions hereof and the Bank shall be entitled to all the

rights, privileges and benefits of this Interim Order, including without limitation, the Bank Liens,




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and Superpriority Claims granted herein.

       46. Control Disclaimer. The transactions contemplated by the Post-Petition Financing

are not intended to provide the Bank with sufficient control over the Estate so as to subject the

Bank to any liability in connection with the management of the Hospital or the Estate. By

providing the Post-Petition Financing or taking any actions pursuant to this Order, the Bank shall

not: (a) be deemed to be in control of the operations or liquidation of the Estate; or (b) be

deemed to be acting as a "responsible person" or "owner or operator" with respect to the

operation, management or liquidation of the Estate.

       47. Continuing Effect of Order. The provisions of this Order and any actions taken

pursuant hereto shall survive entry of any order, including without limitation (a) confirming any

plan of reorganization in this case (and the Post-Petition Financing shall not be discharged by the

entry of any such order or pursuant to § 1141(d)(4) of the Bankruptcy Code, the Trustee having

hereby waived such discharge); (b) converting this case to a chapter 7 case; or (c) dismissing this

case, and the terms and provisions of this Interim Order as well as the Superpriority Claims, and

Bank Liens granted pursuant to this Interim Order and Loan Agreements shall continue in full

force and effect notwithstanding the entry of such order, and such Superpriority Claims, and

Bank Liens shall maintain their priority as provided by this Interim Order until all Bank

Indebtedness is indefeasibly paid in full and discharged.

       48. Additional Requirements.        The Bank's obligations under this Interim Order are

conditional upon and subject to (a) the payment of $50,000 ("Loan Fee") which shall be

advanced as part of, and included in, the Post-Petition Financing; and (c) delivery to the Bank of

evidence satisfactory to the Bank that the Collateral is insured for the full replacement value

thereof and the Bank is named as loss payee and/or as additional insured on all insurance policies




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upon request of the Bank. The Bank may, at its sole discretion, retain additional third party

consultants selected by the Bank to review matters pertaining to the business and properties of

the Estate, each at the Estate's sole reasonable expense (collectively, the "Bank's Consultants").

The Trustee will permit the Bank's Consultants to examine the respective corporate, financial

and operating records, and, at the Trustee's sole reasonable expense, make copies thereof, inspect

the assets, properties, operations and affairs of the Trustee, visit any or all of the offices of the

Estate to discuss such matters with their officers, independent auditors, accountants or

consultants (and the Trustee hereby authorize such independent auditors, accountants and

consultant to discuss such matters with the Bank's Consultants), and the Trustee will cooperate

with the Bank's Consultants in all respects; provided however that the Trustee reserves his right

to claim that any such documents are protected under attorney client privilege to the extent

permitted under applicable law.

       49. Stipulations, Releases and Waivers.

               a. Upon entry of this Interim Order, the Trustee's stipulations, releases and

waivers contemplated in the findings of fact and conclusions of law shall be deemed binding

upon the Trustee, the Estate, and all other parties, including, without limitation, subsequent

trustees, subject to the terms and conditions of this Interim Order. The Trustee's Stipulations

above are binding upon the Trustee immediately upon entry of this Interim Order.

               b. The findings, stipulations, releases and waivers contained above shall be

binding upon the Trustee, the Estate and all parties in interest, including without limitation, any

statutory committees appointed in this case, unless a party in interest (other than the Trustee) has

properly filed an adversary proceeding or commenced a contested matter (subject to the

limitations set forth in this Interim Order) challenging the amount, validity, enforceability,




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perfection or priority of the Bank Pre-Petition Indebtedness or the Bank's Pre-Petition Liens, or

otherwise asserting any claims or causes of action against the Bank relating to the Bank Pre-

Petition Indebtedness on behalf of the Estate, no later than the date that is forty five (45) days

after entry of the Final Order (the "Challenge Deadline"), and the Bankruptcy Court

subsequently enters a judgment in favor of the plaintiff in any such timely and properly filed

adversary proceeding or contested matter. If no such adversary proceeding or contested matter is

properly commenced as of the Challenge Deadline, then the findings, stipulations, releases and

waivers contained above shall be binding and the Bank Pre-Petition Indebtedness shall constitute

an allowed fully secured claim, not subject to subordination and otherwise unavoidable.

               c. Subject only to the rights of set forth above, for all purposes in this case and

any subsequent chapter 7 case, the Bank's liens on the Bank Pre-Petition Collateral shall be

deemed legal, valid, binding, perfected, not subject to defense, counterclaim, offset of any kind,

subordination and otherwise unavoidable, and the Bank, the Bank Pre-Petition Indebtedness and

the Bank's liens on the Bank Pre-Petition Collateral shall not be subject to any other or further

challenge by any party in interest seeking to exercise the rights of the Estate, including without,

limitation, any successor thereto.    If any such adversary proceeding or contested matter is

properly commenced as of such date, the findings contained in the recital paragraphs of this

Interim Order shall nonetheless remain binding on all parties in interest except to the extent that

such findings were expressly challenged in such adversary proceeding or contested matter.

       50. Bank's Rights Not Prejudiced. Except as expressly provided herein, this Interim

Order shall be without prejudice to any and all rights, remedies, claims and causes of action

which the Bank may have against the Estate or any third parties, and without prejudice to the

right of the Bank to seek relief from the automatic stay in effect pursuant to § 362 of the




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Bankruptcy Code, or any other relief in this case, and the right of the Trustee to oppose any such

relief by contesting the existence of a Default or an Event of Default and as otherwise consistent

with the terms of this Interim Order. In no event shall the Bank be subject to the equitable

doctrine of "marshaling" or any other similar doctrine with respect to any Collateral.

       51. Authorization to Perform Additional Acts. The Trustee is authorized to perform all

acts, and execute and comply with the terms of such other documents, instruments and

agreements in addition to the Loan Agreements, as the Bank may reasonably require, as evidence

of and for the protection of the Post-Petition Financing, or which otherwise may be deemed

reasonably necessary by the Bank to effectuate the terms and conditions of this Interim Order

and the Loan Agreements.

       52. Waivers. In order to be effective any waiver by Bank of the provisions of this

Interim Order or consent required under this Interim Order must be in writing, which includes

electronic mail.

       53. Financial Reporting and Inspection of Collateral. Trustee shall provide a weekly

report on actual revenue and expenses no later than Wednesday at 5:00 p.m. central time for the

week preceding the week in which the report is made. Such report shall be in a form as mutually

agreed to by the Trustee and the Bank. Further, the Trustee shall provide Bank the balance sheet

and profit and loss statements no later than the 30th day of the month for the month proceeding

the month in which the report is made. Additionally, the Bank shall have the right to examine all

of Estate's books and records and the Collateral, including bank records relating to prepetition

and post-petition time periods, upon three (3) business days advance notice, during normal

business hours.

       54. Successors and Assigns. The provisions of this Interim Order shall be binding upon




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and inure to the benefit of the Bank, the Trustee, and their respective successors and assigns

(including without limitation, any subsequent chapter11 or Chapter 7 trustee, examiner, or other

fiduciary hereafter appointed for the Estate or with respect to any of the Estate's property).

       55. Conflicts. To the extent there exists any conflict between the Loan Agreements, and

the terms of this Order, this Order shall govern.

       56. Final Hearing and Response Deadline. The Final Hearing will be held on June 13,

2019, at 10:30 a.m. The Trustee shall, on or before May 20, 2019, mail copies of a notice of the

entry of this Interim Order and the date of the Final Hearing, together with a copy of this Interim

Order to the parties having been given notice of the Preliminary Hearing, to any party which has

filed prior to such date a request for notices with this Court and to any counsel for any statutory

committee of unsecured creditors appointed pursuant to § 1102 of the Bankruptcy Code. The

notice of entry of this Interim Order shall state that any party in interest objecting to the Post-

Petition Financing shall file written objections with the Clerk of the United States Bankruptcy

Court for the District of Kansas no later than 5:00 p.m. (CST) on June 3, 2019. Objections shall

be served so that the same are received on or before such date and time by: (a) counsel for the

Trustee; (b) counsel for the Bank, and (d) the Office of the United States Trustee.

       IT IS SO ORDERED.

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STIPULATED AND AGREED:


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